Case: 4:21-mj-03257-NCC Doc. #: 1 Filed: 10/14/21 Page: 1 of 1 PagelD #: 1
AOS] (Rev. P11) Criminal Comptia

UNITED STATES DISTRICT COURT
for the

EASTERN DISTRICT OF MISSOURI

 

United States of America )
v. )
; Case No. 4:21 MJ 3257 NCC
KEVIN CUNNINGIIAM and )
MICAH GORDON me ) SIGNED AND SUBMITTED TO THE COURT FOR
) FILING BY RELIABLE ELECTRONIC MEANS,
)
Pee are ha aii i: )
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belicf.
On or about the date(s) of October 13. 2021 a in the county of St. Louis and St, Louis City in the
_Eastem District of Missouri . the defendant(s) violated:
Code Section Offense Description
18: 2, 37 and 1958 Conspiracy to commit and Use of Facility of Interstate Commerce in the Commission

of Murder for Hire

This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT

MW Continued on the attached sheet.
I state under penalty of perjury the forgoing bs true and correct. t * | |
Watnant 's sizmature

Special Agent Christopher Faves, DEA

Sworn to, =~ 6 the EF;
Date: 10/14/2021

City and state: St, Louis, Missouri Honorable Noelle C. Collins, U.S. Magistrate Judge
pr iPr faited name and title

 

Printed name and tithe

 

 

 

AUSA OGDEN

 
